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                        United States Court of Appeals
                                         For the First Circuit
                                             ____________________

                                      NOTICE OF APPEARANCE

    No. 24-1739                   Short Title: St. Dominic Acad. v. Makin

          The Clerk will enter my appearance as counsel on behalf of (please list names of all parties
   represented, using additional sheet(s) if necessary):
   Lambda Legal Defense and Education Fund, Inc. and GLBTQ Legal Advocates & Defenders as the
    [ ] appellant(s)                     [ ] appellee(s)                      [✔] amicus curiae
    [ ] petitioner(s)                    [ ] respondent(s)                    [ ] intervenor(s)


    /s/ Mary Bonauto                                        11/13/2024
    Signature                                              Date
    Mary Bonauto
    Name
    GLBTQ Legal Advocates & Defenders 617-426-1350
    Firm Name (if applicable)                              Telephone Number
    18 Tremont Street, Suite 950                            617-426-3594
    Address                                                Fax Number
    Boston, MA 02108                                        mbonauto@glad.org
    City, State, Zip Code                                  Email (required)
    Court of Appeals Bar Number: 68959


    Has this case or any related case previously been on appeal?
    [ ] No             [✔] Yes Court of Appeals No. 24-1590
   =========================================================================
        Attorneys for both appellant and appellee must file a notice of appearance within 14 days of case
   opening. New or additional counsel may enter an appearance outside the 14 day period; however, a notice of
   appearance may not be filed after the appellee/respondent brief has been filed without leave of court. 1st Cir.
   R. 12.0(a).

        Counsel must complete and file this notice of appearance in order to file pleadings in this court.
   Counsel not yet admitted to practice before this court must promptly submit a bar application. 1st Cir. R.
   46.0(a)(2).
